                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

                                               )
NEW PRIME, INC.,                               )
D/B/A PRIME, INC.,                             )
                                               )
               Plaintiff,                      )
                                               )      Case No. 6:19-cv-03236-MDH
       v.                                      )
                                               )
AMAZON LOGISTICS, INC.,                        )
AMAZON.COM SERVICES LLC, and                   )
AMAZON TECHNOLOGIES, INC.,                     )
                                               )
               Defendants.                     )
                                               )

                              THIRD AMENDED COMPLAINT

       Plaintiff New Prime, Inc., d/b/a Prime Inc. (“Prime Inc.”), for its Third Amended

Complaint against Defendants Amazon Logistics, Inc. (“Amazon Logistics”), Amazon.com

Services LLC (“Amazon.com Services”), and Amazon Technologies, Inc. (“Amazon

Technologies”) (collectively, “Amazon”), alleges as follows:

                                       INTRODUCTION

       1.         In this action, Prime Inc. seeks preliminary and permanent injunctive relief and

monetary damages for Amazon’s acts of trademark and/or service mark infringement, trademark

and/or service mark dilution, and unfair competition, as well as cancellation of U.S. Registration

No. 3,234,643 for fraud. This action arises under the Trademark Act of 1946, 15 U.S.C. §§ 1051

et seq. (the “Lanham Act”) and the laws of the State of Missouri.

       2.         Prime Inc. is the owner of the common law standard character mark PRIME

INC. (the “PRIME INC. Word Mark”) and the common law stylized mark PRIME INC. (the

“PRIME INC. Stylized Mark”), depicted below (collectively, the “PRIME INC. Marks”), which



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have become well known and famous through Prime Inc.’s extensive and continuous use and

promotion of the marks in commerce throughout the United States for forty years in connection

with transportation, trucking, and shipping services classified by the United States Patent and

Trademark Office (“USPTO”) in Class 39:




         3.      Amazon has used and continues to use confusingly similar marks (the

“Accused Marks,” described below) in connection with the transportation of goods via trailer

trucks and other shipping and transportation vehicles in commerce, in violation of Prime Inc.’s

exclusive rights in the PRIME INC. Marks for the same or related services. Amazon has done so

with knowledge of the PRIME INC. Marks and in willful violation of Prime Inc.’s exclusive

rights in the PRIME INC. Marks.

         4.      Amazon’s use of the Accused Marks in connection with the transportation of

goods via trailer trucks and other shipping and transportation vehicles in commerce has also

harmed Prime Inc.’s reputation and goodwill and diluted the distinctive quality of the famous

PRIME INC. Marks.

         5.      As a result of Amazon’s unlawful acts, Prime Inc. has suffered, is suffering,

and, unless these unlawful acts are preliminarily and permanently enjoined by the Court, will

continue to suffer immediate and irreparable injury to its business, reputation, and goodwill for

which there is no adequate remedy at law. Prime Inc. therefore is entitled to preliminary and

permanent injunctive relief, as well as monetary damages, costs, and attorney’s fees, as detailed

below.




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       6.         In addition, U.S. Registration No. 3,234,643 should be cancelled pursuant to 15

U.S.C. § 1119 because, as detailed below, Amazon Technologies procured this registration by

making false and fraudulent statements to the USPTO examining attorney assigned to the

application from which the registration issued.

                                           PARTIES

       7.         Prime Inc. is a Nebraska corporation with its principal place of business

located at 2740 North Mayfair Avenue, Springfield, Missouri 65803. Prime Inc. has been

registered to conduct business in Missouri since 1986.

       8.         Amazon Logistics is a Delaware corporation with its principal place of

business located at 410 Terry Avenue North, Seattle, Washington 98126.

       9.         Amazon.com Services is a Delaware limited liability company with its

principal place of business located at 410 Terry Avenue North, Seattle, Washington 98109.

       10.        Amazon Technologies is a Nevada corporation with its principal place of

business located at 410 Terry Avenue North, Seattle, Washington 98109.

       11.        On information and belief, Amazon Technologies owns the Accused Marks.

       12.        On information and belief, Amazon Logistics, Amazon.com Services, and

Amazon Technologies use the Accused Marks in connection with the transportation of goods via

trailer trucks and other shipping and transportation vehicles in commerce, and thus are

responsible for the acts of infringement, unfair competition, and dilution described

herein. Amazon Logistics specifically bills itself as “Amazon’s delivery service,” and the

amazon.com website indicates that “[o]rders shipped by Amazon Logistics will show as shipped

with Amazon.”




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                                 JURISDICTION AND VENUE

       13.        The Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121(a), 28 U.S.C. §§ 1331, 1338, and 1367(a). The Court has original subject matter

jurisdiction over Counts I, IV, and VI pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331

and 1338(a). The Court has supplemental subject matter jurisdiction over Counts II, III, and V

pursuant 28 U.S.C. § 1367(a); these claims are so related to Counts I, IV, and VI, over which the

Court has original subject matter jurisdiction, that they form part of the same case or controversy

under Article III of the United States Constitution. The Court also has original subject matter

jurisdiction over Count III pursuant to 28 U.S.C. § 1338(b).

       14.        Amazon is subject to this Court’s specific and general personal jurisdiction

pursuant to principles of due process and/or the Missouri long-arm statute, Mo. Rev. Stat. §

506.500, because Amazon committed the wrongful acts identified in this Complaint in this

District and the State of Missouri and regularly conducts and/or solicit business, engages in other

persistent courses of conduct, and/or derives substantial revenue from the sale of goods and

services to persons and/or entities in this District and the State of Missouri.

       15.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c)

because a substantial part of the events or omissions giving rise to Prime Inc.’s claims occurred

in this District and because Amazon is subject to personal jurisdiction in this District.

                                         BACKGROUND

Prime Inc. and the PRIME INC. Marks

       16.        Prime Inc. is a leading transportation company founded in 1970 that provides

refrigerated, flatbed, tanker, and intermodal transportation, trucking, and shipping services

throughout the United States and internationally.




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       17.        Prime Inc. currently has more than 14,500 remotely-monitored, temperature-

controlled trailers in service throughout the United States and internationally and projects growth

of 1,500 to 3,000 additional trailers per year.

       18.        Prime Inc. is one of the largest and most successful freight carriers in the

United States. Prime Inc. distributes and provides its transportation, trucking, and shipping

services in all 48 contiguous U.S. states, as well as in Canada and Mexico, through its network of

approximately 7,000 trucks and more than 14,500 trailers operated by thousands of drivers.

       19.        Since at least as early as January 30, 1980, Prime Inc. has continuously used

the PRIME INC. Marks in commerce throughout the United States, including in the State of

Missouri, and internationally in connection with its transportation, trucking, and shipping

services.

       20.        Since at least as early as January 1, 1990, Prime Inc. has continuously used the

PRIME INC. Marks in commerce throughout all 48 contiguous U.S. states, as well as in Canada

and Mexico.

       21.        Prime Inc. has prominently displayed the PRIME INC. Marks, for example, on

its website, on various social media platforms, in written advertisements and promotional

materials, and on each of its approximately 7,000 trucks and more than 14,500 trailers operated

throughout all 48 contiguous U.S. states, as well as in Canada and Mexico. Representative

specimens of Prime Inc.’s use of the PRIME INC. Marks in commerce are attached collectively

as Exhibit A.

       22.        Prime Inc. has expended substantial effort and resources in marketing,

advertising, and promoting its transportation, trucking, and shipping services under the PRIME

INC. Marks throughout the United States and internationally.




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        23.        Every year since at least 2009, Prime Inc.’s trucks have traveled over 500

million miles throughout all 48 contiguous U.S. states. Every year since at least 2015, Prime

Inc.’s trucks and trailers have traveled over 700 million miles throughout all 48 contiguous U.S.

states. These trucks and trailers operate not only as vessels to transport goods, but also as

traveling “billboards” for Prime Inc. and its services—billboards prominently and conspicuously

placed before the eyes of drivers and passengers on interstates, highways, and roads throughout

all 48 contiguous U.S. states every single day for at least the last 30 years.

        24.        In addition to advertising its services through the display of the PRIME INC.

Marks on its thousands of trucks and trailers traveling throughout all 48 contiguous U.S. states,

Prime Inc. also advertises its services through direct consultation and solicitation by its network

of sales representatives throughout the United States, Canada, and Mexico.

        25.        Prime Inc. also uses more traditional methods of advertising, including print

media (e.g., Prime Inc.’s Prime Ways magazine) and other written advertisements and

promotional materials disseminated to consumers and the general public throughout the United

States for at least the last forty years.

        26.        In addition, Prime Inc. has prominently displayed the PRIME INC. Marks on

its website since at least 1996, and on various social media platforms (including Facebook,

Instagram, Twitter, YouTube, and LinkedIn) since at least 2011. Prime Inc. has also advertised

its services under the PRIME INC. Marks via the nationwide sale of branded apparel and

accessories through its online store located at www.primeincstore.com since at least 2012.

        27.        Every year since at least 2013, and in addition to its ubiquitous advertising on

its trucks and trailers, Prime Inc. has spent multiple millions of dollars on U.S. advertising to

promote its services.




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       28.        Prime Inc.’s annual revenue on sales of goods and/or services offered under the

PRIME INC. marks is in the billions of dollars, and has been for each year since at least 2011.

       29.        Prime Inc. employs more than 8,500 drivers nationwide.

       30.        Prime Inc. has operated a network of more than 4,500 trucks and more than

7,000 trailers throughout all 48 contiguous U.S. states every year since at least 2011.

       31.        Prime Inc. has operated facilities throughout the United States, including in

Springfield, Missouri; Pittston, Pennsylvania; Salt Lake City, Utah; Denver, Colorado; Laredo,

Texas; Sherwood, Oregon; Oxnard, California; Auburndale, Florida; Miami, Florida; Pierson,

Florida; Reed City, Michigan; Lewiston, Maine; Olney, Illinois; Decatur, Indiana; Port

Wentworth, Georgia; Bellingham, Washington; and Duke, Oklahoma.

       32.        The PRIME INC. Marks are arbitrary in that their dominant component—the

word “prime”—has a meaning that has no direct relation to Prime Inc.’s services. As such, the

PRIME INC. Marks are inherently distinctive identifiers of Prime Inc. and its services.

       33.        At the very least, as a result of Prime Inc.’s extensive and continuous use and

promotion of the PRIME INC. Marks in connection with its transportation, trucking, and

shipping services throughout the United States and internationally for four decades, the PRIME

INC. Marks have acquired secondary meaning as distinctive identifiers of Prime Inc. and its

services.

       34.        As a result of Prime Inc.’s extensive and continuous use and promotion of the

PRIME INC. Marks in connection with its transportation, trucking, and shipping services

throughout the United States and internationally for four decades, the PRIME INC. Marks have

become well and favorably known, and famous, to consumers and the general public throughout

the United States as associated with Prime Inc., its services, and its widespread recognition and




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reputation as a leader in the transportation, trucking, and shipping industry. Prime Inc. therefore

has established substantial and valuable goodwill in the PRIME INC. Marks, which have become

valuable assets of Prime Inc.

       35.        For all of the foregoing reasons, Prime Inc. has established significant common

law rights in the PRIME INC. Marks throughout the entire United States, including in the State

of Missouri.

Prime Inc.’s Applications to Register the PRIME INC. Marks

       36.        On December 16, 2011, Prime Inc. filed U.S. Application Serial No.

85/497,826 for the PRIME INC. Stylized Mark covering “[t]ransportation services by truck” in

Class 39, described and shown in paragraph 2 above, based on first use anywhere and first use in

interstate commerce as early as January 30, 1980.

       37.        The USPTO examining attorney assigned to U.S. Application Serial No.

85/497,826 refused to register the PRIME INC. Stylized Mark, citing to Amazon Technologies’

U.S. Registration No. 3,234,643 described in paragraph 42 below, and finding a likelihood of

confusion based on the presumptive overlap in services offered in connection with the parties’

marks and the “identical” nature of the dominant component of the marks. Copies of the

examining attorney’s Office Actions dated March 31, 2012, October 29, 2012, and May 23,

2013, are attached as Exhibits B, C, and D, respectively.

       38.        U.S. Application Serial No. 85/497,826 abandoned on April 2, 2014.

       39.        On August 18, 2017, Prime Inc. filed U.S. Application Serial No. 87/575,242

for the PRIME INC. Word Mark covering “[t]ransportation services by truck” in Class 39 based

on first use anywhere and first use in interstate commerce as early as January 30, 1980.




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       40.        In an Office Action dated October 31, 2017, the USPTO examining attorney

assigned to U.S. Application Serial No. 87/575,242 cited to, inter alia, certain applications filed

by Amazon Technologies prior to U.S. Application Serial No. 87/575,242—including U.S.

Application Serial Nos. 87/394,793, 87/394,812, 87/177,080, and 87/033,547, described below

in paragraphs 45, 48, and 51—as bases for the refusal of registration of the PRIME INC. Word

Mark “because of a likelihood of confusion with” these PRIME-formative marks. A copy of this

Office Action is attached as Exhibit E.

       41.        On January 24, 2018, Prime Inc. filed a Notice of Opposition in the USPTO’s

Trademark Trial and Appeal Board in which it opposed Amazon Technologies’ U.S. Application

Serial Nos. 87/394,793 and 87/394,812 on the grounds of likelihood of confusion under § 2(d) of

the Lanham Act, 15 U.S.C. § 1052(d), false suggestion of connection under § 2(a) of the Lanham

Act, 15 U.S.C. § 1052(a), and no bona fide intent to use under § 1 of the Lanham Act, 15 U.S.C.

§ 1051.

       42.        On May 22, 2018, the USPTO examining attorney suspended further action on

U.S. Application Serial No. 87/575,242 in view of, inter alia, Prime Inc.’s Notice of Opposition

relating to Amazon Technologies’ U.S. Application Serial Nos. 87/394,793 and 87/394,812. As

a further basis for suspension, the examining attorney stated that “action on [U.S. Application

Serial No. 87/575,242] is suspended until the earlier-filed referenced application(s) [including

those referenced in paragraph 32 above] is either registered or abandoned.” A copy of the

examining attorney’s Suspension Notice is attached as Exhibit F.

Amazon’s Accused Marks

       43.        Decades after Prime Inc. began using the PRIME INC. Marks in commerce

throughout the United States in connection with transportation, trucking, and shipping services,




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Amazon began seeking to register similar PRIME-formative marks in connection with Class 39

services. These marks (collectively, the “Accused Marks”) are reflected in U.S. Application

Serial Nos. 78/559,146, 87/033,547, 87/033,480, 87/177,080, 87/394,793, and 87/394,812, and

are described in paragraphs 36 through 55 below.

       44.       On February 2, 2005, Amazon Technologies filed U.S. Application Serial No.

78/559,146 to register the standard character mark PRIME (the “PRIME Word Mark”) on the

Principal Register for the following Class 35 and Class 39 services:

               Class 35: Customer loyalty program featuring discounted shipping
               services; retail services, namely, membership-based shipping
               program, variable rate shipping program.

               Class 39: Expedited shipping service.

A copy of U.S. Application Serial No. 78/559,146 is attached as Exhibit G.

       45.       Amazon Technologies filed U.S. Application Serial No. 78/559,146 under §

1(b) of the Lanham Act, 15 U.S.C. § 1051(b), alleging an intent to use the PRIME Word Mark in

connection with the foregoing Class 35 and Class 39 services.

       46.       In U.S. Application Serial No. 78/559,146, Amazon Technologies declared that

all statements in the Application were “true”—including Amazon Technologies’ statement that it

had “a bona fide intention to use or use through [Amazon Technologies’] related company or

licensee the [PRIME Word Mark] in commerce on or in connection with the identified goods

and/or services.” (Ex. G.)

       47.       In an Office Action dated August 31, 2005, the USPTO examining attorney

found that “[t]he wording used to describe the [claimed] services needs clarification to enable

proper classification.” With respect to the claimed “[e]xpedited shipping service” in Class 39,

the examining attorney proposed adding the qualifier “for others” to the end of Amazon




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Technologies’ original description, such that the amended description covered an “[e]xpedited

shipping service for others.”      The examining attorney stated, however, that Amazon

Technologies could adopt this amendment only “if accurate.”         Upon receiving Amazon

Technologies’ express “authoriz[ation] on November 2, 2005,” the examining attorney adopted

this amended description by way of an Examiner’s Amendment dated November 4, 2005, and

issued a Notice of Allowance reflecting this amended description on July 18, 2006.1 Copies of

the Office Action, Examiner’s Amendment, and Notice of Allowance are attached as Exhibits

H, I, and J, respectively.

       48.        On November 29, 2006, Amazon Technologies filed a Statement of Use under

§ 1(d) of the Lanham Act, 15 U.S.C. § 1051(d), alleging a date of first use of the PRIME Word

Mark with respect to all claimed services of February 2, 2005—the date on which U.S.

Application Serial No. 78/559,146 was filed. The same day, Amazon Technologies submitted

one specimen of use with respect to all claimed services—a printout of the amazon.com website

dated November 28, 2006. Copies of the Statement of Use and supporting specimen are attached

collectively as Exhibit K.

       49.        In the Statement of Use, Amazon Technologies declared that all statements in

the Statement of Use were “true”—including Amazon Technologies’ statements that it “is using

or is using through a related company or licensee the [PRIME Word Mark] in commerce on or in

connection with the goods and/or services” listed in Class 35 and Class 39, and that the PRIME




       1
         The examiner also adopted the following amended description of the claimed services
in Class 35: “Customer loyalty program services featuring rewards in the form of discounted
shipping services; retail services, namely, membership-based shipping program, variable rate
shipping program administration of a discount program for enabling participants to obtain
discounts on shipping services through use of a discount membership card.”


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Word Mark “was first used by [Amazon Technologies], or [its] related company, licensee, or

predecessor in interest” in this manner “at least as early as 02/02/2005.” (Ex. K.)

       50.        Based on Amazon Technologies’ Statement of Use, on April 24, 2007, the

USPTO registered the PRIME Word Mark on the Principal Register for the following Class 35

and Class 39 services:

               Class 35: Customer loyalty program services featuring rewards in
               the form of discounted shipping services; retail services, namely,
               administration of a discount program for enabling participants to
               obtain discounts on shipping services through use of a discount
               membership card.

               Class 39: Expedited shipping service for others.

A copy of the Certificate of Registration for the PRIME Word Mark—U.S. Registration No.

3,234,643 (the “PRIME Registration”)—is attached as Exhibit L.

       51.        On April 16, 2013, Amazon Technologies filed a Declaration of Use under § 8

of the Lanham Act, 15 U.S.C. § 1058, again declaring as “true” that the PRIME Word Mark “is

in use in commerce on or in connection with all goods/services . . . listed in the existing

registration”—including an “[e]xpedited shipping service for others” under Class 39. The same

day, Amazon Technologies filed a Declaration of Incontestability under § 15 of the Lanham Act,

15 U.S.C. § 1065, in which it made identical allegations of use, as well as one specimen of use

for all claimed services—another printout of the amazon.com website. Copies of the Declaration

of Use, Declaration of Incontestability, and supporting specimen are attached collectively as

Exhibit M.

       52.        On April 26, 2017, Amazon Technologies filed a combined Declaration of Use

and Application for Renewal under §§ 8 and 9 of the Lanham Act, 15 U.S.C. §§ 1058–59, again

declaring as “true” that the PRIME Word Mark “is in use in commerce on or in connection with




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all goods/services . . . listed in the existing registration”—including an “[e]xpedited shipping

service for others” under Class 39.       The same day, Amazon Technologies submitted one

specimen of use with respect to all claimed services—another printout of the amazon.com

website.     Copies of the combined Declaration of Use and Application for Renewal and

supporting specimen are attached collectively as Exhibit N.

       53.        On May 11, 2016, Amazon Technologies filed U.S. Application Serial Nos.

87/033,547 and 87/033,480 to register the standard character mark PRIME GT (the “PRIME GT

Word Mark”) and the standard character mark GT PRIME (the “GT PRIME Word Mark”),

respectively, on the Principal Register for, inter alia, the following Class 39 services:

                Transport, storage, shipping and delivery of goods; providing a
                website featuring information in the field of transportation; rental
                of storage containers; mailbox rental; travel arrangement for
                others, namely, travel booking agencies and arranging travel tours;
                travel clubs; providing a web site featuring travel information and
                commentary.

Copies of U.S. Application Serial Nos. 87/033,547 and 87/033,480 are attached as Exhibits O

and P, respectively.

       54.        Amazon Technologies filed U.S. Application Serial Nos. 87/033,547 and

87/033,480 under § 1(b) of the Lanham Act, 15 U.S.C. § 1051(b), alleging an intent to use the

standard character marks PRIME GT and GT PRIME in connection with the foregoing Class 39

services.

       55.        Pursuant to an examiner’s amendment, the description of Class 39 services set

forth in U.S. Application Serial Nos. 87/033,547 and 87/033,480 was changed to the following:

                Transport, storage, shipping and delivery of goods; providing a
                website featuring information in the field of transportation; rental
                of storage containers; mailbox rental; travel arrangement for
                others, namely, travel booking agencies and arranging transport




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               for travel tours; travel clubs; providing a web site featuring travel
               information and commentary.

       56.        On September 20, 2016, Amazon Technologies filed U.S. Application Serial

No. 87/177,080 to register the standard character mark PRIME AIR (the “PRIME AIR Word

Mark”) on the Principal Register for the following Class 39 services:

               Transport; packaging and storage of goods; travel arrangement;
               expedited shipping service for others.

A copy of U.S. Application Serial No. 87/177,080 is attached as Exhibit Q.

       57.        Amazon Technologies filed U.S. Application Serial No. 87/177,080 under §

1(b) of the Lanham Act, 15 U.S.C. § 1051(b), alleging an intent to use the PRIME AIR Word

Mark in connection with the foregoing Class 39 services.

       58.        In response to an Office Action by the USPTO examining attorney, Amazon

Technologies amended the description of Class 39 services set forth in U.S. Application Serial

No. 87/177,080 as follows:

               Transport; Air transport; transport of goods; packaging and
               storage of goods; travel arrangement; coordinating travel
               arrangements for individuals and for groups; expedited
               shipping service of goods for others.

       59.        On March 31, 2017, Amazon Technologies filed U.S. Application Serial Nos.

87/394,793 and 87/394,812 to register the following marks on the Principal Register for, inter

alia, the following Class 39 services:

               Transport of goods; providing a website featuring information in
               the field of transportation; shipping, delivery, and storage of
               goods; freight transportation by means of truck, train and air;
               goods warehousing; packaging articles for transportation;
               merchandise packaging for others; rental of storage containers;
               mailbox rental; locating and arranging for reservations for storage
               space for others; courier services; messenger services; expedited
               shipping services, namely, arranging for freight transportation by
               means of truck, train and air; distribution services, namely,



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               providing online services which afford customers the ability to
               select a distribution point for goods purchased on the Internet;
               membership-based truck, train, and air shipping programs;
               coordinating travel arrangements for individuals and for groups;
               travel booking agencies; providing a web site featuring travel
               information and commentary.

                           U.S. Application Serial No. 87/394,793
                                     (no color claimed)




                           U.S. Application Serial No. 87/394,812
                                  (“color[] blue” claimed)




Copies of U.S. Application Serial Nos. 87/394,793 and 87/394,812 are attached as Exhibits R

and S, respectively.

       60.       Amazon Technologies filed U.S. Application Serial Nos. 87/394,793 and

87/394,812 under § 1(b) of the Lanham Act, 15 U.S.C. § 1051(b), alleging an intent to use the

foregoing marks (collectively, the “PRIME Stylized Marks”) in connection with the foregoing

Class 39 services.




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       61.       In Office Actions dated June 1, 2017, the USPTO examining attorney assigned

to U.S. Application Serial Nos. 87/394,793 and 87/394,812 found that Amazon Technologies’

description of Class 39 services set forth in these applications required clarification.

Specifically, the examining attorney found that the phrase “expedited shipping services, namely,

arranging for freight transportation by means of truck, train and air” required clarification

because “arranging for transportation identifies class 35 services.” Copies of these Office

Actions are attached as Exhibits T and U.

       62.       In response to the foregoing Office Actions, Amazon Technologies amended

the description of Class 39 services set forth in U.S. Application Serial Nos. 87/394,793 and

87/394,812 as follows:

               Transport of goods; providing a website featuring information in
               the field of transportation; shipping, delivery, and storage of
               goods; freight transportation by means of truck, train and air;
               goods warehousing; packaging articles for transportation;
               merchandise packaging for others; rental of storage containers;
               mailbox rental; locating and arranging for reservations for storage
               space for others; courier services; messenger services; expedited
               shipping services, namely, arranging for freight transportation
               by means of truck, train and air; distribution services, namely,
               providing online services which afford customers the ability to
               select a distribution point for goods purchased on the Internet;
               membership-based truck, train, and air shipping programs;
               coordinating travel arrangements for individuals and for groups;
               travel booking agencies; providing a web site featuring travel
               information and commentary.

Copies of Amazon Technologies’ amendments are attached as Exhibits V and W.

       63.       In addition, pursuant to the USPTO examining attorney’s statement that

“arranging for transportation identifies class 35 services,” Amazon Technologies added to its

description of Class 35 services the phrase “expedited shipping services, namely, arranging for

freight transportation by means of truck, train and air” which it had removed from its description




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of Class 39 services. In doing so, Amazon Technologies finally admitted to the USPTO what it

had previously intentionally obscured in connection with the prosecution of U.S. Application

Serial No. 78/559,146 and the renewal of the PRIME Registration—that its “expedited shipping

services” were not actual transportation services registrable in Class 39, but rather at best

pertained to “arranging for freight transportation” in Class 35. (Exs. V–W.)

Amazon’s Infringement of the PRIME INC. Marks and Unfair Competition

       64.       Decades after Prime Inc. began using the PRIME INC. Marks in commerce

throughout the United States in connection with transportation, trucking, and shipping services,

Amazon began using the Accused Marks on trailer trucks and other shipping and transportation

vehicles.

       65.       In or about 2015, Amazon began transporting goods to its retail customers and

Prime loyalty program members in commerce using trailer trucks and other shipping and

transportation vehicles. Since that time, Amazon has used these trailer trucks and other shipping

and transportation vehicles to transport goods to its retail customers and Prime loyalty program

members via the interstate highway system and other roadways, thoroughfares, and other

transportation channels throughout the United States. These are the same transportation channels

in which Prime Inc. has provided its services since 1980 under the PRIME INC. Marks.

       66.       In or about 2016 or 2017, nearly forty years after Prime Inc. first used the

PRIME INC. Marks in commerce in connection with Prime Inc.’s transportation, trucking, and

shipping service, Amazon began using one or more of the Accused Marks on trailer trucks and

other shipping and transportation vehicles, in violation of Prime Inc.’s exclusive rights in the

PRIME INC. Marks. Examples of this use of one or more of the Accused Marks on such trailer

trucks and other shipping and transportation vehicles in commerce are attached as Exhibit X.




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       67.       As the USPTO examining attorneys assigned to Prime Inc.’s applications to

register the PRIME INC. Marks expressly recognized, the Accused Marks are confusingly

similar to the PRIME INC. Marks.

       68.       The Accused Marks are identical in appearance, sound, meaning, and

commercial impression when compared to the PRIME INC. Marks, as the dominant component

of each of these marks—the word “prime”—is the same. The USPTO examining attorney

recognized this in connection with the prosecution of the PRIME INC. Stylized Mark, U.S.

Application No. 85/497,826. In Office Actions dated March 31, 2012, and May 23, 2013, the

examining attorney found that the word “prime” is the “dominant” component of both the

PRIME INC. Stylized Mark and the PRIME Word Mark and, as such, is given greater weight

than any minor stylistic differences between the marks. (Exs. B, D.) Further, as reflected in the

USPTO examining attorneys’ requirement that Prime Inc. disclaim the word “inc.” in connection

with U.S. Application Serial Nos. 85/497,826 and 87/575,242, the inclusion of this word does

not materially distinguish the PRIME INC. Marks from the Accused Marks. (See Exs. B–E.)

Likewise, in an Office Action dated July 14, 2017, the USPTO examining attorney assigned to

U.S. Application Serial No. 87/177,080 for the PRIME AIR Word Mark required Amazon

Technologies to disclaim the word “air,” thereby recognizing that the inclusion of this word does

not materially distinguish the PRIME INC. Marks from the PRIME AIR Word Mark. A copy of

this Office Action is attached as Exhibit Y.

       69.       Amazon’s use of one or more of the Accused Marks on trailer trucks and other

shipping and transportation vehicles in commerce has caused and, unless enjoined by the Court,

is likely to continue to cause confusion (including post-sale confusion), mistake, and/or

deception among consumers and the general public as to whether some affiliation, connection, or




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association exists between Amazon and Prime Inc., and/or as to the origin, sponsorship, or

approval of the parties’ goods and/or services.

        70.       As a further result of Amazon’s use of one or more of the Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce, consumers have

associated and are likely to continue to associate with Prime Inc. any defect, objection, or fault

found with Amazon’s services, both at and after the point of sale.

        71.       As a further result of Amazon’s use of one or more of the Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce, consumers familiar

with Prime Inc. and its transportation, trucking, and shipping services sold, offered for sale, and

marketed under the PRIME INC. Marks are likely to purchase and/or associate goodwill to

Amazon based on the erroneous assumption that Amazon’s services are provided, authorized,

sponsored, or endorsed by, or in some manner associated with, Prime Inc., both at and after the

point of sale.

        72.       As a further result of Amazon’s use of one or more of the Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce, consumers have

erroneously assumed and are likely to continue to erroneously assume that Prime Inc.’s

transportation, trucking, and shipping services are provided, authorized, sponsored, or endorsed

by, or in some manner associated with, Amazon, both at and after the point of sale, and/or that

Prime Inc. is somehow infringing the Accused Marks.

        73.       As a further result of Amazon’s use of one or more of the Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce, Prime Inc. is hindered

in its ability to control its goodwill and reputation, and the value of the PRIME INC. Marks as

identifiers and symbols of Prime Inc.’s goodwill and reputation is diminished.




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       74.       Prime Inc. is aware of and has documented multiple instances of actual

consumer confusion, including, without limitation, post-sale confusion.

       75.       Amazon’s use of one or more of the Accused Marks on trailer trucks and other

shipping and transportation vehicles in commerce is without license or other authorization from

Prime Inc.

       76.       The confusion, mistake, and/or deception described above has caused and,

unless Amazon’s use of one or more of the Accused Marks on trailer trucks and other shipping

and transportation vehicles in commerce is enjoined by the Court, will continue to cause

substantial and irreparable harm to Prime Inc. and its business, reputation, and goodwill for

which there is no adequate remedy at law.

       77.       The substantial and irreparable harm suffered by Prime Inc. as a result of

Amazon’s use of one or more of the Accused Marks on trailer trucks and other shipping and

transportation vehicles in commerce includes, but is not limited to, Prime Inc.’s inability to

register the PRIME INC. Marks due to Amazon’s claimed use of, or intent to use, the Accused

Marks in connection with Class 39 services that are similar to Prime Inc.’s transportation,

trucking, and shipping services and through identical transportation channels, which resulted in

the USPTO examiner’s finding of a likelihood of confusion.

       78.       Amazon received actual notice of the PRIME INC. Marks and its infringement

thereof in early 2017, first via written correspondence from Prime Inc. and subsequently via

proceedings instituted by Prime Inc. in the Trademark Trial and Appeal Board.

       79.       Nevertheless, Amazon has persisted in using one or more of the Accused

Marks on trailer trucks and other shipping and transportation vehicles in commerce, and thereby

has continued to infringe Prime Inc.’s exclusive rights in the PRIME INC. Marks and has




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continued to engage in unfair competition in violation of the Lanham Act.                Amazon’s

infringement and unfair competition are therefore intentional, willful, and malicious.

                                        COUNT I
             Federal Unfair Competition – 15 U.S.C. § 1125(a) – All Defendants

       80.        Prime Inc. realleges and incorporates herein by reference all preceding

allegations as though fully set forth herein.

       81.        Prime Inc. is the owner of the PRIME INC. Marks and has used the PRIME

INC. Marks continuously in commerce for forty years in connection with the sale, offer for sale,

marketing, advertising, and promotion of its transportation, trucking, and shipping services.

       82.        Since approximately 2016 or 2017, Amazon has used one or more of the

confusingly similar Accused Marks on trailer trucks and other shipping and transportation

vehicles used to transport goods to Amazon’s retail customers and Prime loyalty program

members via the interstate highway system and other roadways, thoroughfares, and other

transportation channels throughout the United States—the same transportation channels in which

Prime Inc. has provided its services since 1980 under the PRIME INC. Marks—willfully and in

conscious disregard of Prime Inc.’s exclusive rights as owner of the PRIME INC. Marks.

       83.        Amazon’s use of one or more of the confusingly similar Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce has caused and is likely

to continue to cause confusion (including post-sale confusion), mistake, and/or deception among

consumers and the general public as to whether some affiliation, connection, or association exists

between Amazon and Prime Inc., and/or as to the origin, sponsorship, or approval of the parties’

goods and/or services.




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       84.        Amazon’s use of one or more of the confusingly similar Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce constitutes unfair

competition in violation of 15 U.S.C. § 1125(a).

       85.        Amazon’s unlawful acts described above have caused and, unless enjoined by

the Court, will continue to cause substantial and irreparable harm to Prime Inc. and its business,

reputation, and goodwill for which there is no adequate remedy at law.

       86.        Amazon’s unlawful acts described above are intentional, willful, and

malicious.

       87.        Prime Inc. is entitled to preliminary and permanent injunctive relief and to

recover, in addition to its actual damages, Amazon’s profits, enhanced profits and damages,

costs, and attorney’s fees pursuant to 15 U.S.C. §§ 1116 and 1117.

                                   COUNT II
                  Common Law Trademark Infringement – All Defendants

       88.        Prime Inc. realleges and incorporates herein by reference all preceding

allegations as though fully set forth herein.

       89.        Prime Inc. is the owner of the PRIME INC. Marks and has used the PRIME

INC. Marks continuously in commerce, including in the State of Missouri, for forty years in

connection with the sale, offer for sale, marketing, advertising, and promotion of its

transportation, trucking, and shipping services.

       90.        Since approximately 2016 or 2017, Amazon has used one or more of the

confusingly similar Accused Marks on trailer trucks and other shipping and transportation

vehicles used to transport goods to Amazon’s retail customers and Prime loyalty program

members via the interstate highway system and other roadways, thoroughfares, and other

transportation channels throughout the United States, including in the State of Missouri—the



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same transportation channels in which Prime Inc. has provided its services since 1980 under the

PRIME INC. Marks—willfully and in conscious disregard of Prime Inc.’s exclusive rights as

owner of the PRIME INC. Marks.

       91.        Amazon’s use of one or more of the confusingly similar Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce has caused and is likely

to continue to cause confusion (including post-sale confusion), mistake, and/or deception among

consumers and the general public as to whether some affiliation, connection, or association exists

between Amazon and Prime Inc., and/or as to the origin, sponsorship, or approval of the parties’

goods and/or services.

       92.        Amazon’s use of one or more of the confusingly similar Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce constitutes trademark

and/or service mark infringement in violation of the common law of the State of Missouri.

       93.        Amazon’s unlawful acts described above have caused and, unless enjoined by

the Court, will continue to cause substantial and irreparable harm to Prime Inc. and its business,

reputation, and goodwill for which there is no adequate remedy at law.

       94.        Amazon’s unlawful acts described above are intentional, willful, and

malicious.

       95.        Prime Inc. is entitled to preliminary and permanent injunctive relief and to

recover, in addition to its actual damages, Amazon’s profits, enhanced profits and damages,

costs, and attorney’s fees.

                                     COUNT III
                      Common Law Unfair Competition – All Defendants

       96.        Prime Inc. realleges and incorporates herein by reference all preceding

allegations as though fully set forth herein.



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       97.        Prime Inc. is the owner of the PRIME INC. Marks and has used the PRIME

INC. Marks continuously in commerce, including in the State of Missouri, for forty years in

connection with the sale, offer for sale, marketing, advertising, and promotion of its

transportation, trucking, and shipping services.

       98.        Since approximately 2016 or 2017, Amazon has used one or more of the

confusingly similar Accused Marks on trailer trucks and other shipping and transportation

vehicles used to transport goods to Amazon’s retail customers and Prime loyalty program

members via the interstate highway system and other roadways, thoroughfares, and other

transportation channels throughout the United States, including in the State of Missouri—the

same transportation channels in which Prime Inc. has provided its services since 1980 under the

PRIME INC. Marks—willfully and in conscious disregard of Prime Inc.’s exclusive rights as

owner of the PRIME INC. Marks.

       99.        Amazon’s use of one or more of the confusingly similar Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce has caused and is likely

to continue to cause confusion (including post-sale confusion), mistake, and/or deception among

consumers and the general public as to whether some affiliation, connection, or association exists

between Amazon and Prime Inc., and/or as to the origin, sponsorship, or approval of the parties’

goods and/or services.

       100.       Amazon’s use of one or more of the confusingly similar Accused Marks on

trailer trucks and other shipping and transportation vehicles in commerce constitutes unfair

competition in violation of the common law of the State of Missouri.




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       101.       Amazon’s unlawful acts described above have caused and, unless enjoined by

the Court, will continue to cause substantial and irreparable harm to Prime Inc. and its business,

reputation, and goodwill for which there is no adequate remedy at law.

       102.       Amazon’s unlawful acts described above are intentional, willful, and

malicious.

       103.       Prime Inc. is entitled to preliminary and permanent injunctive relief and to

recover, in addition to its actual damages, Amazon’s profits, enhanced profits and damages,

costs, and attorney’s fees.

                                       COUNT IV
              Federal Trademark Dilution – 15 U.S.C. § 1125(c) – All Defendants

       104.       Prime Inc. realleges and incorporates herein by reference all preceding

allegations as though fully set forth herein.

       105.       Prime Inc. is the owner of the PRIME INC. Marks and has used and promoted

the PRIME INC. Marks extensively and continuously in commerce throughout the United States

for forty years in connection with the sale, offer for sale, marketing, advertising, and promotion

of its transportation, trucking, and shipping services, and the PRIME INC. Marks have thereby

become well known and famous symbols and identifiers of Prime Inc. and its services.

       106.       Amazon’s use of one or more of the Accused Marks on trailer trucks and other

shipping and transportation vehicles in commerce has diluted and is likely to continue to dilute

the distinctiveness of the PRIME INC. Marks by eroding the public’s exclusive identification of

these famous marks with Prime Inc., tarnishing and degrading Prime Inc.’s reputation and

goodwill symbolized by the marks, and otherwise lessening the capacity of the marks to identify

and distinguish goods and services.




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       107.        Amazon’s use of one or more of the Accused Marks on trailer trucks and other

shipping and transportation vehicles in commerce constitutes trademark and/or service mark

dilution in violation of 15 U.S.C. § 1125(c).

       108.        Amazon’s unlawful acts described above have caused and, unless enjoined by

the Court, will continue to cause substantial and irreparable harm to Prime Inc. and its business,

reputation, and goodwill for which there is no adequate remedy at law.

       109.        Amazon’s unlawful acts described above are intentional, willful, and

malicious.

       110.        Prime Inc. is entitled to preliminary and permanent injunctive relief and to

recover, in addition to its actual damages, Amazon’s profits, enhanced profits and damages,

costs, and attorney’s fees pursuant to 15 U.S.C. §§ 1116, 1117, and 1125(c).

                                         COUNT V
            Missouri Trademark Dilution – Mo. Rev. Stat. § 417.061 – All Defendants

       111.        Prime Inc. realleges and incorporates herein by reference all preceding

allegations as though fully set forth herein.

       112.        Prime Inc. is the owner of the PRIME INC. Marks and has used and promoted

the PRIME INC. Marks extensively and continuously in commerce, including in the State of

Missouri, for forty years in connection with the sale, offer for sale, marketing, advertising, and

promotion of its transportation, trucking, and shipping services, and the PRIME INC. Marks

have thereby become well known and famous symbols and identifiers of Prime Inc. and its

services.

       113.        Amazon’s use of one or more of the Accused Marks on trailer trucks and other

shipping and transportation vehicles in commerce has diluted and is likely to continue to dilute

the distinctiveness of the PRIME INC. Marks by eroding the public’s exclusive identification of



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these famous marks with Prime Inc., tarnishing and degrading Prime Inc.’s reputation and

goodwill symbolized by the marks, and otherwise lessening the capacity of the marks to identify

and distinguish goods and services.

       114.        Amazon’s use of the PRIME Word Mark on trailer trucks and other shipping

and transportation vehicles in commerce constitutes trademark and/or service mark dilution in

violation of Mo. Rev. Stat. § 417.061, notwithstanding the PRIME Registration, because the

PRIME Registration was procured through fraud, as alleged in Count VI, and therefore is

invalid.

       115.        Amazon’s use of the other, non-registered Accused Marks on trailer trucks and

other shipping and transportation vehicles in commerce likewise constitutes trademark and/or

service mark dilution in violation of Mo. Rev. Stat. § 417.061.

       116.        Amazon’s unlawful acts described above have caused and, unless enjoined by

the Court, will continue to cause substantial and irreparable harm to Prime Inc. and its business,

reputation, and goodwill for which there is no adequate remedy at law.

       117.        Amazon’s unlawful acts described above are intentional, willful, and

malicious.

       118.        Prime Inc. is entitled to preliminary and permanent injunctive relief pursuant to

Mo. Rev. Stat. § 417.061.

                                           COUNT VI
             Cancellation of U.S. Registration No. 3,234,643 – Amazon Technologies

       119.        Prime Inc. realleges and incorporates herein by reference all preceding

allegations as though fully set forth herein.




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       120.       As detailed above, in February 2005, Amazon Technologies represented to the

USPTO in U.S. Application Serial No. 78/559,146 that it had a bona fide intent to use the

PRIME Word Mark in connection with an “[e]xpedited shipping service” in Class 39. (Ex. G.)

       121.       Moreover, as detailed above, during the prosecution of U.S. Application Serial

No. 78/559,146 and following the issuance of the PRIME Registration, Amazon Technologies

repeatedly represented to the USPTO that it had a bona fide intention to use, and in fact was

using, the PRIME Word Mark in commerce in connection with an “[e]xpedited shipping service

for others” in Class 39. (Exs. H–N.)

       122.       In November 2005, during the prosecution of U.S. Application Serial No.

78/559,146, Amazon Technologies expressly “authorized” amending the description of the

claimed services in Class 39 to encompass an “[e]xpedited shipping service for others.” In

doing so, Amazon Technologies expressly represented to the USPTO that the amendment was

“accurate” and that it had a bona fide intent to use the PRIME Word Mark in connection with

such services “for others.” (Ex. I.) On that basis, the USPTO examining attorney approved the

application as being in condition for registration.

       123.       In November 2006, Amazon Technologies represented to the USPTO in its

Statement of Use under § 1(d) of the Lanham Act, 15 U.S.C. § 1051(d), that it was using the

PRIME Word Mark in commerce in connection with an “[e]xpedited shipping service for others”

under Class 39. (Ex. K.) Amazon Technologies repeated these representations to the USPTO in

April 2013 in connection with its Declarations of Use and Incontestability under §§ 8 and 15 of

the Lanham Act, 15 U.S.C. §§ 1058 and 1065, and again in April 2017 in connection with its

combined Declaration of Use and Application for Renewal under §§ 8 and 9 of the Lanham Act,

15 U.S.C. §§ 1058–59. (Exs. M–N.)




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       124.       In reality, Amazon Technologies was not providing an “[e]xpedited shipping

service” or any other transportation or shipping service under the PRIME Word Mark—let alone

providing such a service “for others”—when it made the foregoing representations to the USPTO

in November 2006 and April 2013. Nor did Amazon Technologies have any bona fide intent to

provide such services despite its contrary representations in February 2005 and November 2005.

       125.       Amazon did not transport any goods, even to its retail customers and Prime

loyalty program members, until approximately 2015, when it began transporting goods to such

retail customers and Prime loyalty program members using trailer trucks and other shipping and

transportation vehicles.

       126.       Amazon did not use the PRIME Word Mark (or any other of the Accused

Marks) on any trailer trucks or other shipping and transportation vehicles until 2016 or 2017 at

the earliest. Amazon therefore did not use the PRIME Word Mark in connection with any

“[e]xpedited shipping service” until 2016 or 2017 at the earliest.

       127.       Accordingly, Amazon Technologies’ representations to the USPTO in

November 2006 and April 2013 that it was using the PRIME Word Mark for an “[e]xpedited

shipping service for others” were false. Similarly, Amazon Technologies’ representation to the

USPTO in February 2005 that it had a bona fide intent to use the PRIME Word Mark for an

“[e]xpedited shipping service,” as well as its representation to the USPTO in November 2005

that it had a bona fide intent to use the PRIME Word Mark for an “[e]xpedited shipping service

for others,” were false.

       128.       The specimens of use submitted by Amazon Technologies in November 2006

and April 2013 do not support Amazon Technologies’ representations of use. The specimen of

use submitted by Amazon Technologies in support of its Statement of Use under § 1(d) of the




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Lanham Act, 15 U.S.C. § 1051(d), in November 2006 does not describe or evidence any Class

39 services, including an “[e]xpedited shipping service” or any other transportation or shipping

service. Rather, at most, this specimen shows use of the PRIME Word Mark in connection with

a “[c]ustomer loyalty program services featuring rewards in the form of discounted shipping

services” under Class 35. (Ex. K.) The specimen submitted by Amazon Technologies in April

2013 in connection with its Declarations of Use and Incontestability under §§ 8 and 15 of the

Lanham Act, 15 U.S.C. §§ 1058 and 1065, likewise does not describe or evidence any Class 39

services, including an “[e]xpedited shipping service” or any other transportation or shipping

service. Rather, at most, this specimen shows use of the PRIME Word Mark in connection with

a “[c]ustomer loyalty program services featuring rewards in the form of discounted shipping

services” under Class 35. (Ex. M.) Accordingly, rather than support Amazon Technologies’

representations of use, these specimens further confirm the falsity of those representations, as

well as the falsity of Amazon Technologies’ statements in February 2005 and November 2005

regarding bona fide intent to use.

       129.       Additionally, all of Amazon Technologies’ representations to the USPTO

concerning its use of the PRIME Word Mark for an “[e]xpedited shipping service for others”—

including its representation to this effect in April 2017, after Amazon began using the PRIME

Word Mark on trailer trucks and other shipping and transportation vehicles—are false because

Amazon Technologies has never, at any time, exhibited a bona fide use of the PRIME Word

Mark in connection with an “[e]xpedited shipping service” or any other transportation or

shipping service “for others”—i.e., primarily for the benefit of the public at large and separate

from Amazon’s principal activities of providing retail store or online retail store services and/or

offering a related loyalty program.




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       130.       For an activity to constitute a separately registrable service under the Lanham

Act, it must be done primarily for the benefit of others and be qualitatively different from

anything necessarily done in connection with the sale of the applicant’s or registrant’s goods or

the performance of another service.

       131.       This principle is consistent with the USPTO examining attorney’s requirement,

in the August 31, 2005 Office Action in connection with the prosecution of U.S. Application

Serial No. 78/559,146, for Amazon Technologies to add, “if accurate,” the qualifier “for others”

to the end of Amazon Technologies’ original description of its Class 39 services. (Ex. H.) As

noted above, Amazon Technologies expressly “authorized” this amendment, and thereby

expressly represented to the USPTO that the amendment was “accurate” and that it not only

intended to provide an “[e]xpedited shipping service,” but to do so “for others.” (Ex. I.)

       132.       Amazon has never offered or purported to offer any Class 39 services to the

public at large, however, even after it began using the PRIME Word Mark on trailer trucks and

other shipping and transportation vehicles. To the extent that Amazon has recently begun

transporting or shipping goods, it has done so only in furtherance of its principal activities of

providing retail store or online retail store services and/or offering a related loyalty program.

Thus, any Class 39 services performed by Amazon are principally for its own benefit, not “for

others.”   Moreover, Amazon’s act of transporting or shipping its own goods to its retail

customers and Prime loyalty program members is not qualitatively different from anything

necessarily done in connection with the sale of Amazon’s own goods or the performance of its

retail store or online retail store services. Amazon’s retail customers and Prime loyalty program

members have no knowledge or choice as to whether Amazon utilizes its own shipping and

transportation capabilities or those of another transport service provider to ship goods purchased




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through the Amazon platform, and whatever benefit these customers and members may receive

from Amazon’s shipment or transportation of such goods is, at most, indirect and incidental.

       133.       Accordingly, because Amazon has never offered Class 39 services primarily

for the benefit of others and in a manner that is qualitatively different from anything necessarily

done in connection with the sale of Amazon’s goods or the performance of another service, the

foregoing representations to the USPTO concerning use of the PRIME Word Mark for an

“[e]xpedited shipping service for others” were and are false, regardless of Amazon’s recent

decision to begin transporting or shipping its own goods via trailer trucks and other shipping and

transportation vehicles.

       134.       Amazon Technologies made the foregoing false representations to the USPTO

with knowledge of their falsity and with fraudulent intent to deceive the USPTO in order to

obtain and renew the PRIME Registration with respect to Class 39 services and to achieve

incontestability with respect to such services. By virtue of the USPTO examining attorney’s

requirement that Amazon Technologies add the “for others” qualifier to its description of Class

39 services, “if accurate,” Amazon Technologies knew that the PRIME Word Mark would not

register unless it represented to the USPTO that the amendment was “accurate”—i.e., that

Amazon Technologies intended to use, and in fact was using, the PRIME Word Mark for an

“[e]xpedited shipping service for others.” Amazon has never used the PRIME Word Mark, and

has never intended to use the PRIME Word Mark, in connection with Class 39 services “for

others,” including an “[e]xpedited shipping service for others.” At most, Amazon has used the

PRIME Word Mark for Class 35 services relating to Amazon’s customer loyalty program. And

the fact that Amazon Technologies via U.S. Application Serial No. 78/559,146 affirmatively

sought registration for both Class 35 services relating to a “customer loyalty program” (which




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included “discount[s]” on “shipping services”) and the Class 39 “expedited shipping service for

others” establishes that Amazon Technologies knew that the alleged Class 39 services extended

beyond the Class 35 services—and therefore included transportation-based services, beyond its

customer loyalty program services, that it simply was not providing at the time, and in fact has

never provided “for others.” Despite this, Amazon Technologies repeatedly represented to the

USPTO—through the submission of specimens and statements of use—over the course of

numerous years that the relevant description of Class 39 services, including the “for others”

addition, was accurate and remained accurate, when in fact it was not—and Amazon

Technologies knew it was not.

       135.      Amazon Technologies’ fraudulent representations to the USPTO concerning its

use of the PRIME Word Mark for an “[e]xpedited shipping service for others” were and are

material because the USPTO relied on these representations in issuing and renewing the PRIME

Registration with respect to Class 39 services and in granting incontestability with respect to

such services. But for its fraudulent representations, Amazon Technologies would not have

obtained or renewed the PRIME Registration with respect to Class 39 services, and would not

have obtained incontestability with respect to such services. Indeed, as noted above, Amazon

Technologies was on notice of this fact by virtue of the USPTO examining attorney’s

requirement that Amazon Technologies add the “for others” qualifier to its description of Class

39 services, “if accurate.” Amazon Technologies knew that the PRIME Word Mark would not

register for Class 39 services unless Amazon Technologies expressly (mis)represented to the

USPTO that the amendment was “accurate.”

       136.      The PRIME Registration—obtained and renewed as a result of Amazon

Technologies’ fraudulent representations described above—has caused and is continuing to




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cause damage and injury to Prime Inc. The existence of the PRIME Registration interferes with

Prime Inc.’s exclusive rights in the PRIME INC. Marks and Prime Inc.’s ability to obtain the

benefits of federal registration of such marks. Indeed, as detailed above, the USPTO examining

attorney cited the PRIME Registration as a basis for the refusal of Prime Inc.’s U.S. Application

Serial No. 85/497,826 for the PRIME INC. Stylized Mark. In addition, as detailed above, the

USPTO examining attorney cited Amazon Technologies’ U.S. Application Serial Nos.

87/394,793, 87/394,812, 87/177,080, and 87/033,547 as bases for the refusal of Prime Inc.’s U.S.

Application Serial No. 87/575,242 for the PRIME INC. Word Mark.

       137.       If Amazon Technologies is permitted to retain the PRIME Registration, further

damage and injury to Prime Inc. will result, as Amazon Technologies will continue to possess at

least a prima facie exclusive right to use the PRIME Word Mark for Class 39 services, including

an “[e]xpedited shipping service for others”—a right it fraudulently procured.

       138.       Amazon Technologies is subject to a duty of candor when dealing with the

USPTO. It knowingly and intentionally failed to comply with that duty in an attempt to obtain

federal trademark protection that it has no legal entitlement to.

       139.       For all of the foregoing reasons, Prime Inc. respectfully requests that the

PRIME Registration be cancelled under § 37 of the Lanham Act, 15 U.S.C. § 1119.

                                    REQUEST FOR RELIEF

       WHEREFORE, Prime Inc. respectfully request a judgment against Amazon as follows:

       (a)     A judgment that Amazon has engaged in unfair competition in violation of 15

U.S.C. § 1125(a) and the common law of the State of Missouri;

       (b)     A judgment that Amazon has infringed the PRIME INC. Marks in violation of the

common law of the State of Missouri;




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           (c)    A judgment that Amazon has engaged in trademark and/or service mark dilution

in violation of 15 U.S.C. § 1125(c) and Mo. Rev. Stat. § 417.061;

           (d)    An order directing the cancellation of U.S. Registration No. 3,234,643 pursuant to

15 U.S.C. § 1119;

           (e)    A preliminary and permanent injunction restraining Amazon, its officers,

directors, principals, employees, agents, attorneys, representatives, affiliates, and all persons in

active concert or participation with one or more of them, from further use of the Accused Marks

or any other mark that incorporates, is identical to, or is otherwise confusingly similar to or

dilutive of the PRIME INC. Marks on or in connection with trailer trucks or other shipping or

transportation vehicles;

           (f)    An award of all monetary damages to which Prime Inc. is entitled by law for

Amazon’s past and continuing infringement of the PRIME INC. Marks and past and continuing

acts of dilution and unfair competition, including the greater of three times Amazon’s profits or

three times any damages sustained by Prime Inc. on account of Amazon’s acts of infringement,

dilution, and unfair competition, and an order requiring a full accounting of the same;

           (g)    An award of Prime Inc.’s costs incurred in bringing and prosecuting this action;

           (h)    A finding that this is an exceptional case pursuant to 15 U.S.C. § 1117(a) and an

award of Prime Inc.’s attorneys’ fees incurred in bringing and prosecuting this action;

           (i)    An assessment of pre- and post-judgment interest on the damages awarded; and

           (j)    Any other and further relief that the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

           Pursuant to Fed. R. Civ. P. 38(b), Prime Inc. hereby demands a jury trial on all issues so

triable.




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Date: August 14, 2020                              Respectfully submitted,

                                                   LATHROP GPM LLP

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                                                        Attorneys for Plaintiff



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 14, 2020, a true and correct copy of the
above and foregoing was filed with the Clerk of Court via the CM/ECF system with service upon
all counsel of record via the Notice of Electronic Filing.

                                                   /s/ Travis W. McCallon
                                                   Attorneys for Plaintiff




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